Filed 8/27/24 Kapoor v. Halaby CA2/5
   NOT TO BE PUBLISHED IN THE OFFICIAL REPORTS

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IN THE COURT OF APPEAL OF THE STATE OF CALIFORNIA

                         SECOND APPELLATE DISTRICT

                                        DIVISION FIVE

 KENNY KAPOOR,                                                     B326168

           Plaintiff and Respondent,                               (Los Angeles County
                                                                   Super. Ct. No.
           v.                                                       20STCV21303)

 ZALFA HALABY et al.,

           Defendants and Appellants;

 CLIFFORD B. SULLIVAN,

           Defendant, Cross-Defendant
           and Respondent.


       APPEAL from an order of the Superior Court of Los
Angeles County, Terry A. Green, Judge. Reversed.
       Miller Miller Gerber, Jonathan L. Gerber and Corey A.
Miller for Defendants and Appellants.
       Anderson, McPharlin &amp; Conners, Vanessa H. Widener and
Ali Z. Vaqar for Defendant, Cross-Defendant and Respondent.
                        ________________________
                          INTRODUCTION
       Beginning in June 2020 and continuing through December
2022, Kenny Kapoor on the one hand and Charles Elkins and
Zalfa Halaby (Elkins/Halaby) on the other were adverse parties
in related multi-party lawsuits arising from Kapoor and
Elkins/Halaby’s jointly undertaken real estate investments
through their limited liability company, South Shore LLC (South
Shore). During the pendency of these actions (the South Shore
lawsuits) and through transactions that Elkins/Halaby contend
were fraudulent, Clifford Sullivan acquired title to a property
occupied by Elkins/Halaby as their personal residence and filed
an unlawful detainer action against them. In this context, the
trial court, notwithstanding its finding that the evidence did not
support a “reasonable probability” that Sullivan would prevail in
his action against Elkins/Halaby, issued a pretrial order,
requiring Elkins/Halaby to pay Sullivan $11,147 monthly.
The mandated monthly payment substantially exceeded the fair
rental value of the property, as well as Sullivan’s underlying
claim for relief, and was based on Sullivan’s uncorroborated
statement of his monthly mortgage obligation on the property.
       The trial court’s order cites only Code of Civil Procedure
              1
section 1170.5 and is improper under that statute, but even if
the order were understood to be predicated on an unstated
invocation of injunction principles more generally, the requisite
showing of likelihood of success is lacking, the order exceeds
Sullivan’s claim for relief against Elkins/Halaby, and any



1
     All subsequent statutory references are to the Code of Civil
Procedure unless otherwise indicated.




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damages incurred by Sullivan are readily quantifiable.
Accordingly, we reverse.
            FACTS AND PROCEDURAL HISTORY
I.    The South Shore Entity, the Agreement to Transfer
      the Hacienda Ranch from South Shore to an LCC
      Owned by Elkins/Halaby, and the Inadvertent
      Transfer to a Suspended, Unrelated Entity
      In approximately 2017, Kapoor and Elkins/Halaby formed
South Shore as a vehicle for real estate investments.
Notwithstanding South Shore taking title, Elkins/Halaby
contributed approximately $420,000 toward South Shore’s
purchase of the Hacienda Ranch, and thereafter contributed an
aggregate of approximately $275,000 to the property’s
rehabilitation, mortgage, and homeowners’ association payments.
      On March 17, 2020, South Shore entered into a written
agreement to transfer the Hacienda Ranch to Ekins/Halaby or
their assignee. On May 1, 2020, South Shore recorded a
quitclaim deed transferring the Hacienda Ranch to “Rez
Properties, LLC, a California limited liability company”
(Rez California). The transferee name was an error:
Elkins/Halaby intended to hold title in the name of Rez
Properties, a Texas limited liability company. By apparent
coincidence, there was an existing California limited liability
company named Rez Properties, LLC
      In December of 2020, for reasons unclear from the record,
South Shore was in arrears on the Hacienda Ranch mortgage
loan. On December 14, 2020, the lender recorded a notice of
default and, on March 14, 2021, scheduled a foreclosure sale to
take place the next month. Elkins/Halaby reached an agreement
to bring the loan current and avert foreclosure, pursuant to which




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they were to pay South Shore’s lender two installments of
$350,000 each, with the final payment due June 4, 2021.
Elkins/Halaby completed the initial payment of $350,000 on May
17, 2021, and the lender postponed foreclosure.
II.   Sullivan’s Self-Designation As the Manager of the
      Incorrectly Named LCC and His Resulting
      Acquisition of the Hacienda Ranch
      On May 17, 2021, Sullivan filed a Statement of Information
for Rez California with the Secretary of State’s office, identifying
himself as its manager and agent for service of process. The next
day, acting for Rez California, Sullivan executed a quitclaim deed
transferring Hacienda Ranch back to South Shore, describing the
transaction as a “bonafide gift.” In turn, on May 24, 2021,
Kapoor, acting for South Shore, executed a grant deed
transferring Hacienda Ranch to Sullivan. In connection with his
acquisition of Hacienda Ranch, Sullivan entered into a financing
agreement with DML Capital Mortgage Fund, including a loan in
the amount of $825,000. Sullivan’s purchase price for Hacienda
Ranch was reduced by the $350,000 that Elkins/Halaby had
recently paid South Shore’s lender and Sullivan’s “purchase” of
Hacienda Ranch extinguished South Shore’s outstanding
obligation to its own lender. Elkins/Halaby continued living at
Hacienda Ranch following Sullivan’s ostensible acquisition of the
property.
III. Sullivan’s Unlawful Detainer Action Against
      Elkins/Halaby and His Subsequent Request for an
      Injunction Requiring Elkins/Halaby to Pay Him a
      Monthly Sum Equal to His Alleged Mortgage
      Obligation




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       On November 4, 2021, Sullivan filed an unlawful detainer
action, naming as defendants Elkins and any other person
residing at Hacienda Ranch. In his verified complaint, Sullivan
declared the amount in controversy did not exceed $10,000, and
his only requested relief was possession of the property. Sullivan
did not request money damages of any kind. On November 22,
2021, the trial court stayed Sullivan’s unlawful detainer action,
finding the case related to the South Shore lawsuits.
       On November 16, 2022 – more than a year after filing his
unlawful detainer complaint – Sullivan filed a motion asking the
trial court to order Ekins/Halaby to pay him “at least” $11,147.64
per month, a sum equal to his asserted monthly mortgage
payment on the Hacienda Ranch. In support of his motion,
Sullivan cited the trial court’s authority under sections 128,
subdivision (a) and 525, and declared he was the legal owner of
Hacienda Ranch while Elkins/Halaby continued to live there
without paying rent, and further claimed that he could not afford
to continue carrying the property unless Elkins/Halaby paid to
occupy it. Sullivan estimated that the fair rental value of the
property was $8,600 per month, and that his monthly payment to
his lender was $11,147. Elkins/Halaby opposed the motion,
arguing that Sullivan had “unclean hands,” that there was no
direct evidence of the amount of his monthly mortgage obligation,
and that Sullivan could not show a likelihood of success as
required for an order of pretrial payment of rent under section
1170.5.
IV. The Trial Court’s Order Granting Sullivan’s Motion
       On December 14, 2022, the trial court held a hearing on
several matters in the South Shore cases, including Sullivan’s
motion. The trial court agreed with Elkins/Halaby that motions




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for pretrial payment of rent are governed by section 1170.5,
subdivision (c) and that that the evidence did “not disclose a
probability that Sullivan [would] prevail in obtaining clear title”
as required for an order of pretrial rent under that code section.
The trial court observed several impediments to Sullivan
demonstrating a likelihood of success on the merits, including:
Elkins/Halaby had fair claim to title based on the contract of sale,
the May 1, 2020 deed, and their own payments on the previous
mortgage. The trial court further observed that Sullivan was on
notice of the Elkins-Halaby claim, given (a) the existence of two
lis pendens, (b) the express written warning from counsel for
Elkins/Halaby days before the sale closed, and (c) Sullivan’s own
filing of papers posing as the manager of REZ California for the
sole purpose of recording a gift deed that transferred the
residence back to South Shore to facilitate his own acquisition.
The trial court also observed that Rez California had been
suspended by the Franchise Tax Board since 2011 and that
Sullivan had not cured the suspension.
       Notwithstanding these obstacles, the trial court found that
through Sullivan’s “purchase of the property” he “paid debts that
were owed by Elkins/Halaby,” and therefore conferred a
“windfall” on them, in the amount of $482,191.84 that
“Elkins/Halaby would otherwise have to pay.” Alluding to what
the trial court, earlier in the hearing, described as a “welter of
entities and claims” in the multi-party South Shore cases, the
trial court commented, “The absolute last thing this case needs is
a defaulted mortgage that results in an aggrieved lender entering
the fray to seek foreclosure.”




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       Following these observations, the trial court ordered
Elkins/Halaby to pay $11,147 monthly to the trust account of
Sullivan’s counsel and in turn ordered disbursement of the funds
for payment of Sullivan’s asserted mortgage obligation on the
Hacienda Ranch.
       The trial court entered its written order on December 16,
2022. Elkins/Halaby filed a timely notice of appeal.
                            DISCUSSION
       Sullivan’s failure to show a likelihood of success on the
merits of his unlawful detainer action against Elkins/Halaby
requires reversal of the trial court’s order, regardless of whether
the order was made under section 1170.5 or preliminary
injunction principles more generally.
I.     Standard of Review
      “[T]he decision whether to grant a preliminary injunction is
reviewed for an abuse of discretion” (Brown v. Pacifica
Foundation, Inc. (2019) 34 Cal.App.5th 915, 925), and factual
findings underlying the court’s ruling are reviewed for
substantial evidence. (Integrated Dynamic Solutions, Inc. v.
VitaVet Labs, Inc. (2016) 6 Cal.App.5th 1178, 1184.) If the trial
court abused its discretion in weighing either the balance of
harms or the plaintiff’s likelihood of success on the merits, we
must reverse. (Carsten v. City of Del Mar (1992) 8 Cal.App.4th
1642, 1649.)




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II.   The Trial Court Exceeded Its Discretion in Ordering
      Elkins/Halaby to Pay $1147 per month to Sullivan’s
      Counsel During the Pendency of Litigation
      1. The Failure to Demonstrate Likelihood of Success on the
      Merits Renders the Order Improper Under Section 1170.5
       We agree with the trial court’s own assessment that
ordering Elkins/Halaby to pay rent to Sullivan during the
pendency of the unlawful detainer action would be improper
under section 1170.5 in light of Sullivan’s inability to
demonstrate a likelihood of success on the merits. In addition to
the trial court’s own observations regarding the impediments to
Sullivan’s claims, we note that the trial court’s directive was that
Elkins/Halaby pay Sullivan the monthly sum of $11,147 even
though, by Sullivan’s own declaration, the fair rental value of the
Hacienda Ranch was approximately $8600. In sum, the order for
Elkins/Halaby to pay $11,147 monthly during the pendency of the
unlawful detainer action exceeded the trial court’s discretion
under section 1170.5.
       2. Reversal Is Also Required if the Order Is Viewed as
       Having Been Made Under General Principles Governing
       Preliminary Injunctions
       The order directing Elkins/Halaby to pay $11,147 monthly
during the pendency of trial also exceeded the trial court’s
discretion under general preliminary injunction principles.
Before exercising its discretion to issue a preliminary injunction,
the trial court “must consider ‘two interrelated factors,’
specifically, the likelihood that plaintiffs will prevail on the
merits at trial, and the comparative harm to be suffered by
plaintiffs if the injunction does not issue against the harm to be
suffered by defendants . . . if it does. [Citation.]” (King v. Meese




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(1987) 43 Cal.3d 1217, 1226.) All of the trial court’s observations
regarding Sullivan’s inability to show a likelihood of success on
the merits (as required for an order of pretrial payment of rent
under § 1170.5) likewise show failure to meet the threshold
requirement for a preliminary injunction. Nor does the record
show that the balance of harms tipped in Sullivan’s favor.
Although the trial court commented that Sullivan was paying
debts owed by Elkins/Halaby, the record shows that the debt was
in fact owed by South Shore, and that any windfall benefited both
South Shore (by having its debt paid) and Sullivan (by reducing
his purchase price by $350,000).
       Moreover, the entire series of transactions facilitating
Sullivan’s acquisition of the property would have been impossible
in the absence of a clerical error. In addition to the observations
of the trial court that Sullivan “just happened to [seize] upon a
clerical error in a deed,” the record indicates that “Rez
California,” the unintended transferee after the clerical error,
was suspended by the Franchise Tax Board, thus making the
quitclaim prohibited by Revenue and Taxation Code section
23302, subdivision (d), which states that a suspended taxpayer
“shall not be entitled to sell, transfer, or exchange real property
in California during the period of forfeiture or suspension.”
       We further note that Sullivan made no showing that his
damages were either inadequate or unascertainable. Before a
trial court may issue a nonstatutory injunction as a provisional
remedy, it must appear that monetary relief would not afford
adequate relief or that it would be extremely difficult to ascertain
the amount of damages. (§ 526, subds. (a)(4) &amp; (a)(5); Thayer
Plymouth Center, Inc. v. Chrysler Motors Corp. (1967) 255
Cal.App.2d 300, 306.) “Put another way, if the legal remedy of




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compensatory damages is adequate to do complete justice
between the parties, ‘a proper exercise of equitable jurisdiction
will not give equitable relief.’ [Citation.]” (ZF Micro Solutions,
Inc. v. TAT Capital Partners, Ltd. (2022) 82 Cal.App.5th 992,
1000-1001.)

       Sullivan’s declaration, and the trial court’s order awarding
him a fixed monthly sum, belie any concern that money damages
would not be an adequate remedy or cannot readily be
ascertained. Accordingly, there is no basis on which to issue a
preliminary injunction ordering Elkins/Halaby to pay money.
(See Pacific Decision Sciences Corp. v. Superior Court (2004)
121 Cal.App.4th 1100, 1110 [turnover order cannot stand as a
preliminary injunction, where the amount of damages was
readily ascertainable and was in fact determined by the court
that issued the order].)
       Finally, we observe that the order exceeds Sullivan’s claim
for relief. “ ‘ “The scope of available preliminary relief is
necessarily limited by the scope of the relief likely to be obtained
at trial on the merits.” ’ ” (O’Connell v. Superior Court (2006) 141
Cal.App.4th 1452, 1463.) Here, the scope of the preliminary
injunction bears no resemblance to Sullivan’s claim for relief.
Sullivan’s only pleading seeking relief is his unlawful detainer
complaint filed in November of 2021. That complaint alleges that
the amount in controversy is less than $10,000, and the only
relief sought is possession of the property. Thus, separate and
apart from the dubious merits of Sullivan’s claims, the injunction
exceeds Sullivan’s claims for relief as well as his own estimate of
the fair rental value of the Hacienda Ranch.




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                          DISPOSITION
      The trial court’s December 16, 2022 order directing
Elkins/Halaby to pay $11,147 monthly to the trust account of
Sullivan’s counsel is reversed. Elkins/Halaby are awarded their
costs on appeal.



                                           DAVIS, J.*
WE CONCUR:




            BAKER, Acting P. J.




            KIM, J.




*     Judge of the Los Angeles Superior Court, assigned by the
Chief Justice pursuant to Article VI, section 6 of the California
Constitution.




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